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Georgia’
NOTICE OF AWARD

Form must be posted to GA Procurement Registry (GPR)

Solicitation Title/Event
Name:

Statewide Voting System

Solicitation No/Event ID: 47800-SOS0000037

Solicitation Close/Event

End Date: April 23, 2019

Notice of Award Posting

Date: August 9, 2019
Issuing Officer: Verneicher Favors
Issuing Officer Contact

Information: vfavors@sos.ga.gov

The State has awarded a contract to the successful offeror(s). Although the State will provide the
reason(s) an offeror was not successful in accordance with Georgia law, please note that the reasons listed
below beside the names of the unsuccessful offeror(s) should not be interpreted as an exhaustive list.
NOTE: In the event any of the following is applicable, then all identified award amounts (if any) are
estimates only: (1) this is an open agency contract and/or (2) the state entity has identified
primary/secondary awardees. Please reference the Georgia Procurement Manual for the supplier protest

process updated May 18, 2018: http://doas.ga.gov/state-

purchasing/law-administrative-rules-and-policies

SUCCESSFUL OFFEROR(S) AWARD AMOUNT
Dominion Voting Systems, Inc Fixed Contract Amount $106,842,590.80
Select One
Select One
Select One
UNSUCCESSFUL OFFEROR(S) REASONS

Election Systems & Software

Not Highest Scoring Proposal (for RFP only)

Smartmatic USA Corporation

Not Highest Scoring Proposal (for RFP only)

Select One

Select One

Select One

Select One

Select One

Select One

Select One

Select One

Select One

Select One

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Revised: 05/18/18

SPD-APO05

